       Case 2:19-cv-00236-TOR          ECF No. 12      filed 10/09/19    PageID.79 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON

DAVID HAM, CYNTHIA HAM-SANCHEZ                          Case No. 2:19-CV-0236-TOR
and their marital community, and MICHAEL                         2:19-CV-0246-TOR
HAM,
                                                        CIVIL MINUTES
                                   Plaintiffs,
v.                                                      DATE: 10/9/2019

CITY OF SPOKANE,                                        LOCATION: Telephonic

                                   Defendant.            SCHEDULING CONFERENCE
RICHARD DAHL,
                                   Plaintiff,
v.

CITY OF SPOKANE,

                                   Defendant.


                                   CHIEF JUDGE THOMAS O. RICE

Linda Hansen                                                                     Allison Anderson

Courtroom Deputy               Law Clerk                     Interpreter         Court Reporter

Scott Crian & Eugenio Jose Trejo for Ham Plaintiffs    Taki Flevaris, Salvatore J Faggiano, Gregory J Wong
Denisa Buljubasic for Dahl Plaintiff                   and Shea Blood

Plaintiff’s Counsel                                    Defendant’s Counsel

[ ] Open Court                        [ ] Chambers                      [ X ] Telephonic

 All parties present by telephone. The Court has reviewed the files and the submissions of the parties.

 Based the parties’ stipulation, the two cases will be consolidated into 2:19-cv-0236-TOR.
 All future filings will be made in that case.

 Court advised counsel that he is available for informal discovery conferences, if needed, and that the Judges
 in this district are available to assist with mediation.
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Page - 2                                       2:19-cv-236-TOR                           Scheduling Conference




   The Court set the following deadlines:

       Add Parties/Amend Pleadings:         1/31/2020
       Jury Trial:                          10/13/2020 in Spokane

   The Court will enter a detailed written order containing other dates and deadlines.

  CONVENED: 9:15 AM             ADJOURNED: 9:23 AM            TIME: 8 MINS       [ X ] ORDER FORTHCOMING
